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APPENDlX B

QUAL|F|CAT|ONS OF FERNANDO TORRES

l am a member and Chief Economist at leetrics LLC, an lP consulting firm specializing
in the strategic analysis, valuation, and expert Witness assessment of the full spectrum
of intangible assets.

Since 2004, Mr. Torres has applied his economics, finance and business experience, as
Well as skills in quantitative techniques, to the analysis and valuation of intangible
assets, including valuation for transactional and litigation purposes (bankruptcy and
infringement cases). Prior to joining leetrics, Mr. Torres served as Senior Economist
at CONSOR® intellectual Asset Management.

During recent years, Mr. Torres has undertaken projects involving the valuation and/or
the assessment of infringement damages regarding copyrights, trademarks, patents,
trade secrets, rights of publicity, and other intellectual assets in such industries as
commercial agriculture, auto parts, apparel and footwear, retail, pharmaceuticals,
entertainment telecommunications and non-profit organizations, among others.

Mr. Torres regularly presents on topics related to intangible asset valuation in a variety
of venues, many of Which qualify for CLE credit. During the past few years, Mr. Torres
has been an instructor for the course “Valuing intangible Assets for Litigation,” Which is
part of the requirements of the Certified Forensic Financial Analyst designation issued
by the National Association of Certified Valuation Analysts (NACVA).

i\lir. Torres is a member of the National Association of Forensic Economics, and of the
Western Economics Association internationai, among others. His career has spanned
from academia, to branches of government, to private industry and consulting.

He tirst earned a B.A. in Economics from the Metropolitan University in l\liexico City
(1980), and Went on to earn a Graduate Diploma in Economics from the University of
East Anglia (U. K., 1981), and a i\/laster of Science Degree specializing in Econometrics
from the University of London, England (1982).

Prior to specializing in iP, his career centered on financial analysis and management in
the private sector, having been both a brand development consultant and an
entrepreneur in several business ventures, mainly in computer services and the health
care industry. During the 1980$, Mr. Torres Was Professor of Economics at the
Metropolitan University in Mexico City, teaching Economic Policy, Economic Grthh,
l\llicroeconomics, and Quantitative l\liethods. Mr. Torres Was later a financial consultant
(NASD Series 7, 63, 65) for half a dozen years With AXA Advisors LLC.

 

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